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 1
                                                   Honorable Robert S. Lasnik
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 8
                 IN THE UNITED STATES DISTRICT COURT
 9

10   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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13
     ME2 PRODUCTIONS, INC.,               Case No.: C17-1077-RSL
14
             Plaintiff,                   JOINT STIPULATION OF
15
                                          VOLUNTARY DISMISSAL
16   vs.                                  WITH PREJUDICE OF
                                          JEREMY REEVES
17   ROBERT KARIUKI, et al.,
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             Defendants
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           JOINT STIPULATION TO DISMISS WITH PREJUDICE PURSUANT TO FRCP 41
                                         Page 1
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 1         Parties stipulate and agree that, pursuant to Federal Rule of Civil Procedure
 2   41(a)(1)(A)(ii), Parties voluntarily dismiss their claims and counterclaims against
 3   each other in this action with prejudice, pursuant to Federal Rule of Civil Procedure
 4   41(a)(1)(A)(ii) and 41(c). The Parties waive any right to recover any attorneys’
 5   fees or costs from each other in connection with the above-captioned action upon
 6   dismissal.
 7         The Parties have signed this stipulation below, by and through their respective
 8   attorneys of record.
 9

10   Dated: June 21, 2018            Respectfully Submitted by,
11
                                      /s/ J. Curtis Edmondson
12
                                      J. Curtis Edmondson, WA SBN 43,795
13                                    Law Offices of J. Curtis Edmondson, PLLC
                                      Venture Commerce Center,
14
                                      3699 NE John Olsen Ave, Hillsboro, OR 97124
15                                    ph: (503) 336-3749
                                      Attorney for Defendant
16

17
     Dated: June 21, 2018
18

19
                                      /s/ David A. Lowe
20                                    David A. Lowe, WSBA No. 24,453
                                      LOWE GRAHAM JONES
21
                                      701 Fifth Avenue, Suite 4800 - Seattle,
22                                    Washington 98104
                                      ph: (206) 381-3300
23                                    Attorney for Plaintiff
24

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              JOINT STIPULATION TO DISMISS WITH PREJUDICE PURSUANT TO FRCP 41
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